GEORG|A( t\CE OFFlCER STANDARDS AND TRA(l ,\G COUNC|L
sul)O Austell-Powder Springs Road, Suite 261
Austell, Georgia 30106

P.O,S.T. Website:
www.gapost.org

Telephone: (770) 732-5974
Fax: (770) 732.5952

 

September 11, 2003

` l\/|r. Kenneth B. Owens

Dear l\/lr. Owens:

This letter Will serve as notification that the probation status of your P.O.S.T.
certification has ended. l extend my congratulations to you and am pleased to advise you
that P.O.S.T. Case Number 002-164-0‘|-00 is hereby considered closed effective
September 10, 2003. Your certification is considered to be in good standing with the
Georgia Peace Officer Standards and Training Council.

lf you should have any questions, please feel free to contact me at (770) 732-5898.

Sincerely,

/\/th/ir,w; mo
l\/larcia Brooks _
Compliance Analyst

/mlb

cc: Smyma Police Department

 

